Case 6:24-cv-00270-AM-DTG   Document 44-9   Filed 03/20/25   Page 1 of 11




               EXHIBIT I
Case 6:24-cv-00270-AM-DTG   Document 44-9   Filed 03/20/25   Page 2 of 11
Case 6:24-cv-00270-AM-DTG   Document 44-9   Filed 03/20/25   Page 3 of 11
Case 6:24-cv-00270-AM-DTG   Document 44-9   Filed 03/20/25   Page 4 of 11
Case 6:24-cv-00270-AM-DTG   Document 44-9   Filed 03/20/25   Page 5 of 11
Case 6:24-cv-00270-AM-DTG   Document 44-9   Filed 03/20/25   Page 6 of 11
Case 6:24-cv-00270-AM-DTG   Document 44-9   Filed 03/20/25   Page 7 of 11
Case 6:24-cv-00270-AM-DTG   Document 44-9   Filed 03/20/25   Page 8 of 11
Case 6:24-cv-00270-AM-DTG   Document 44-9   Filed 03/20/25   Page 9 of 11
Case 6:24-cv-00270-AM-DTG   Document 44-9   Filed 03/20/25   Page 10 of 11
Case 6:24-cv-00270-AM-DTG   Document 44-9   Filed 03/20/25   Page 11 of 11
